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 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:13-CR-332 GEB

12                                  Plaintiff,            STIPULATION REGARDING EXCLUDABLE
                                                          TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                           v.                           [PROPOSED] FINDINGS AND ORDER

14   TINA MARIE BINI,

15                                  Defendant.

16

17                                                STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant Tina

19 Marie Bini, by and through her counsel of record, hereby stipulate as follows:

20          1.       By previous order, this matter was set for status on December 20, 2013.

21          2.       By this stipulation, defendant now moves to continue the status conference until January

22 24, 2014 and to exclude time between December 20, 2013 and January 24, 2014 under Local Code T4.

23 The United States does not oppose this request.

24          3.       The parties agree and stipulate, and request that the Court find the following:

25                   a)     The United States has represented that the discovery associated with this case

26 includes investigative reports and wiretap applications in electronic form constituting approximately 800

27 pages of documents. All of this discovery has been produced directly to counsel.

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      Stipulation and Proposed Order re: Continuance of   1
      Status Hearing and Exclusion of Time
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 1                   b)     Further, the United States anticipates making a further production of documents

 2 and audio recordings, including intercepted communications, within the next few weeks which are

 3 anticipated to be voluminous.

 4                   c)     Counsel for defendant desires additional time to consult with his client, to conduct

 5 investigation and research related to the charges, to review discovery for this matter, to discuss potential

 6 resolutions with his client, and to otherwise prepare for trial.

 7                   d)     Counsel for defendant believes that failure to grant the above-requested

 8 continuance would deny him the reasonable time necessary for effective preparation, taking into account

 9 the exercise of due diligence.

10                   e)     The United States does not object to the continuance.

11                   f)     Based on the above-stated findings, the ends of justice served by continuing the

12 case as requested outweigh the interest of the public and the defendant in a trial within the original date

13 prescribed by the Speedy Trial Act.

14                   g)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

15 et seq., within which trial must commence, the time period of December 20, 2013 to January 24, 2014,

16 inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because it

17 results from a continuance granted by the Court at defendant’s request on the basis of the Court’s

18 finding that the ends of justice served by taking such action outweigh the best interest of the public and

19 the defendant in a speedy trial.

20          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

21 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

22 must commence.

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      Stipulation and Proposed Order re: Continuance of    2
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 1        IT IS SO STIPULATED.

 2 Dated: December 17, 2013                                  BENJAMIN B. WAGNER
                                                             United States Attorney
 3
                                                             /s/ Todd A. Pickles
 4                                                           TODD A. PICKLES
                                                             Assistant United States Attorney
 5

 6 Dated: December 17, 2013                                  /s/ Todd A. Pickles for
                                                             DANIEL KOUKOL, ESQ.
 7                                                           Counsel for Defendant

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 9
                                                     ORDER
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          IT IS SO FOUND AND ORDERED.
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          Dated: December 17, 2013
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     Stipulation and Proposed Order re: Continuance of   3
     Status Hearing and Exclusion of Time
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